                                                       U. S. Department of Justice


                                                       United States Attorney
                                                       Western District of Virginia
                                                       Street Address (overnight mail)            Mailing Address
  Rick A. Mountcastle                                  310 First Street, SW, Room 906              P. O. Box 1709
  Acting United States Attorney                        Roanoke, Virginia 24011            Roanoke, Virginia 24008
                                                                                         Telephone: 540-857-2250
                                                                                               Fax: 540-857-2614



                                                      November 30, 2017

 To:       The Honorable Jackson L. Kiser
           Senior United States District Judge

 Re:       Brian David Hill v. EOUSA and DOJ
           Case No. 4:17-cv-00027

        Pursuant to the Court’s Pretrial Order dated June 9, 2017 (Dkt. No. 11), the government
 submits this status report, in the form of a letter as instructed.

        The Plaintiff filed his First Status Report on November 27, 2017 (Dkt. No. 44) and
 requested the Court to grant him additional time to “establish and file an Exhibit List and Witness
 List.”

        The government does not object to the Plaintiff’s request for additional time. However,
 should the Court grant Plaintiff additional time to establish his Exhibit and Witness Lists, the
 government respectfully requests that the Court also grant the government the same corresponding
 amount of time. The government does not request a pretrial conference at this time.

           Respectfully submitted, this the 30th day of November, 2017.

                                                      RICK A. MOUNTCASTLE
                                                      Acting United States Attorney

                                                       /s/ Cheryl T. Sloan
                                                      Cheryl T. Sloan
                                                      NCSB #12557
                                                      Special Assistant U.S. Attorney
                                                      101 S. Edgeworth St., 4th Floor
                                                      Greensboro, NC 27401
                                                      (336)333-5351
                                                      cheryl.sloan@usdoj.gov




Case 4:17-cv-00027-JLK-RSB Document 45 Filed 11/30/17 Page 1 of 2 Pageid#: 805
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 DANVILLE DIVISION


 BRIAN DAVID HILL,                   )
                                     )
                   Plaintiff,        )              CASE NO. 4:17-CV-00027-JLK
                                     )
             v.                      )
                                     )
 EXECUTIVE OFFICE FOR THE            )
 UNITED STATES ATTORNEYS, AND        )
 UNITED STATES DEPARTMENT OF         )
 JUSTICE,                            )
                                     )
                   Defendants.       )
 ___________________________________ )

                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 30, 2017, I electronically filed the foregoing Status

 Report with the Clerk of the Court using the ECF system. I further certify that I have mailed by

 U.S. mail the foregoing Status Report to the following non-ECF participants:

        Brian David Hill
        310 Forest Street, Apartment 2
        Martinsville, VA 24112


        Respectfully submitted, this the 30th day of November, 2017.

                                                    RICK A. MOUNTCASTLE
                                                    Acting United States Attorney

                                                     /s/ Cheryl T. Sloan
                                                    Cheryl T. Sloan
                                                    NCSB #12557
                                                    Special Assistant U.S. Attorney
                                                    101 S. Edgeworth St., 4th Floor
                                                    Greensboro, NC 27401
                                                    (336)333-5351
                                                    cheryl.sloan@usdoj.gov




Case 4:17-cv-00027-JLK-RSB Document 45 Filed 11/30/17 Page 2 of 2 Pageid#: 806
